

Matter of Drake (2018 NY Slip Op 08411)





Matter of Drake


2018 NY Slip Op 08411


Decided on December 6, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 6, 2018


[*1]In the Matter of ELIZABETH MULLIKIN DRAKE, an Attorney. (Attorney Registration No. 5280995)

Calendar Date: December 3, 2018

Before: McCarthy, J.P., Lynch, Devine, Clark and Pritzker, JJ.


Elizabeth Mullikin Drake, Westford, Vermont, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Elizabeth Mullikin Drake was admitted to practice by this Court in 2014 and lists a business address in Westford, Vermont with the Office of Court Administration. Drake now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Drake's application.
Upon reading Drake's affidavit sworn to November 14, 2018 and filed November 16, 2018, and upon reading the November 27, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Drake is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
McCarthy, J.P., Lynch, Devine, Clark and Pritzker, JJ., concur.
ORDERED that Elizabeth Mullikin Drake's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Elizabeth Mullikin Drake's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Elizabeth Mullikin Drake is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Drake is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Elizabeth Mullikin Drake shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








